
PER CURIAM.
Robert L. Williams appeals the lower court’s denial of his motion for post-conviction relief. Where a motion for post-conviction relief is denied and the denial is not predicated on the insufficiency of the motion on its face, a copy of that portion of the files and records which conclusively shows that the movant is not entitled to relief must be attached to the order of denial. Fla.R.Crim.P. 3.850. In this case, there are no attachments to the order and there was no evidentiary hearing held. Accordingly, the cause is reversed and remanded to the lower court with instructions to hold an evidentiary hearing. Fla.R. App.P. 9.140(g).
REVERSED AND REMANDED.
LETTS, C. J., and DELL and WALDEN, JJ., concur.
